129 F.3d 128
    NOTICE: Ninth Circuit Rule 36-3 provides that dispositions other than opinions or orders designated for publication are not precedential and should not be cited except when relevant under the doctrines of law of the case, res judicata, or collateral estoppel.UNITED STATES of America, Plaintiff-Appellee,v.Jesse RAMIREZ, Defendant-Appellant.
    No. 97-30162.
    United States Court of Appeals, Ninth Circuit.
    Submitted Nov. 4, 1997.**Decided Nov. 7, 1997.
    
      Appeal from the United States District Court for the Eastern District of Washington, No. CR-92-02115-AAM;  Alan A. McDonald, District Judge, Presiding.
      Before:  HUG, Chief Judge, PREGERSON and BEEZER, Circuit Judges.
    
    
      1
      MEMORANDUM*
    
    
      2
      Jesse Ramirez appeals the district court's judgment which amended his sentence after he violated the terms of his supervised release.  The government agrees the district court erred by imposing an additional term of supervised release to follow the eighteen month prison term imposed upon Ramirez, and requests that we remand for resentencing, In light of our recent opinion in United States v. Collins, 118 F.3d 1.394 (9th Cir.1997), we affirm the portion of Ramirez's sentence that provides for incarceration, reverse the portion that imposes an additional term of supervised release, and remand with instructions to the district court to vacate the supervised release portion of the amended sentence.
    
    
      3
      AFFIRMED IN PART;  REVERSED IN PART;  REMANDED WITH INSTRUCTIONS.
    
    
      
        **
         The panel unanimously finds this case suitable for decision without oral argument.  See Fed.  R.App. P. 34(a);  9th Cir.  R. 34-4
      
      
        *
         This disposition is not appropriate for publication and may not be cited to or by the courts of this circuit except as provided by 9th Cir.  R. 36-3
      
    
    